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                          IN THE UNITED STATES DISTRICT COURT
                                                                                       JUL Z g
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                              FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                                             '''"n:l!f,nu..ur,
                 Plaintiff,                             cRrMrNALNo. 2,o - l53L lnV

        VS.                                             18 U.S.C. $$ 922(i) and924: Possession
                                                        of a Stolen Firearm.
 PHILLIP CHACON,

                 Defendant.

                                      INDICTMENT
The Grand Jury charges:

       On or about March 21,2020, in Rio Aniba County, in the District of New Mexico, the

defendant,   PHILLP CHACON, knowing        or having reasonable cause to believe that the firearm

was stolen, knowingly possessed a stolen firearm in and affecting commerce.

       In violation of l8 U.S.C. $$ 922(i) and924.

                                    FORFEITURE ALLEGATION

       Upon conviction of the offense alleged in this Indictment, the defendant PHILLIP

CHACON, shall forfeit to the United   States pursuant   to   18 U.S.C. $ 924(d) and28 U.S.C.$

2461(c), any interest or claim to a Mossberg2T0 rifle displaying serial number BA195636.




                                                     A TRUE BILL:


                                                     lsl
                                                     FOREPERSON OF THE GRAND JURY

         United States Attorney
